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     Sarah B. Gerdes
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                             IN THE UNITED STATES BANKRUPTCY COURT FOR

                                     SOUTHERN DISTRICT OF TEXAS

          In re:                                              Chapter 13

          Terri Jenkins                                       Case No. 22-30506

                                                              NOTICE OF APPEARANCE AND
                                                              REQUEST FOR NOTICE



            PLEASE TAKE NOTICE that Canyon Gate at Northpointe Owner’s Association, Inc., (the

“Association”), by its undersigned counsel, Sarah B. Gerdes of Sears, Bennett & Gerdes, LLP, files this Notice

of Appearance and Request for Notices and Papers pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy

Procedure. Canyon Gate at Northpointe Owner’s Association, Inc., and Sears, Bennett & Gerdes, LLP request,

pursuant to Bankruptcy Rules 2002, 3017 and 9007 and Section 342 of the Bankruptcy Code, that copies of

all notices and pleadings given or filed in this bankruptcy case be given and served on Sears, Bennett & Gerdes,

LLP by serving:


                    Sarah B. Gerdes
                    Southern District Bar No. 1027701
                    SEARS │ BENNETT│ GERDES│ LLP
                    6548 Greatwood Parkway
                    Sugar Land, Texas 77479
                    (713) 782-1788 Telephone
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             Please take further notice that the foregoing request includes not only the notices and papers

referred to in the Bankruptcy Rules but also includes, without limitation, any notice, application, complaint,

demand, motion, petition, pleading or request, whether formal or informal, written or oral, and whether

transmitted or conveyed by mail, messenger delivery, telephone, facsimile, telegraph, telex or otherwise filed

or made with regard to the referenced case and proceedings herein.

             This Notice of Appearance and Request for Notices and Papers shall not be deemed or construed

to be a waiver of the rights of Canyon Gate at Northpointe Owner’s Association, Inc. (i) to have final orders in

noncore matters entered only after de novo review by a district judge, (ii) to trial by jury in any proceeding so

triable in this case or any case, controversy, or proceeding related to this case, (iii) to have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, or (iv) to assert or

exercise any other rights, claims, actions, setoffs, or recoupments to which Canyon Gate at Northpointe Owner’s

Association, Inc. has or may be entitled, in law or in equity, all of which rights, claims, actions, defenses,

setoffs, and recoupments are expressly reserved.

Dated: May 9, 2022

                                                      RESPECTFULLY SUBMITTED,
                                                      SEARS │ BENNETT │ GERDES │ LLP

                                                      /s/ Sarah B. Gerdes
                                                      SARAH B. GERDES
                                                      6548 Greatwood Parkway
                                                      Sugar Land, Texas 77479
                                                      Telephone: 713.782.1788
                                                      Facsimile: 713.782.1787

                                                      ATTORNEY FOR CANYON GATE AT
                                                      NORTHPOINTE OWNER’S ASSOCIATION,
                                                      INC.




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                      CERTIFICATE OF MAILING AND ELECTRONIC FILING

      I hereby certify that the forgoing Notice of Appearance and Request for Notices and Papers, with certificate
 of mailing and electronic filing were electronically filed on May 9, 2022 and, if not served electronically, was
 served by the method below the addressee's names, as follows:

     Terri Jenkins
     11939 Canyon Valley Dr.
     Tomball, TX 77377
     Pro Se
     Via Certified Mail


     William E. Heitkamp
     Office of Chapter 13 Trustee
     9821 Katy Freeway
     Ste 590
     Houston, TX 77024
     713-722-1200
     heitkamp@ch13hou.com
     Trustee
     Via ECF

                                                     /s/ Sarah B. Gerdes
                                                     Sarah B. Gerdes
                                                     Southern District Bar No. 1027701
                                                     SEARS │ BENNETT │ GERDES │ LLP
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                                                     Sugar Land, Texas 77479




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